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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEW MEXICO
______________________________________
                                           )
 A.E.S.E., a minor child, and EUSEBIO      )
 DANIEL SABILLON PAZ, her father,          )
                                           )
                Plaintiffs,                )
                                           )
   v.                                      )    Case No. 2:21-cv-00569-RB/GBW
                                           )
 UNITED STATES OF AMERICA and              )
 MANAGEMENT & TRAINING                     )
 CORPORATION,                              )
                                           )
                Defendants.                )
 _____________________________________ )


     STIPULATED MOTION FOR EXTENSION OF TIME TO FILE MOTION TO
                             COMPEL

       Plaintiffs respectfully submit this Stipulated Motion for Extension of Time to File Motion

to Compel and state as follows:

       1.       On March 24, 2023, Plaintiffs served their First Set of Interrogatories, First Set of

Requests for Production of Documents, and Request For Entry onto Land to Defendant

Management & Training Corporation (the “Discovery Requests”).

       2.       Defendant Management & Training Corporation (“MTC”) requested, and

Plaintiffs granted, an extension to May 12, 2023 to serve its responses to the Discovery Requests.

       3.       On May 12, 2023, MTC served its Objections, Answers, and Responses to

Plaintiffs’ Discovery Requests, along with a production (collectively, “MTC’s Response and

Production”).

       4.       On May 31, 2023, Plaintiffs sent a letter to MTC discussing deficiencies in
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MTC’s Response and Production. The parties have since engaged in good faith discussions

around the scope and content of MTC’s responses, objections, and answers to the Discovery

Requests.

       5.      On June 27, 2023, the Court granted Plaintiffs’ Motion for Extension of Time for

Filing a Motion to Compel, doc. 120, extending Plaintiffs’ deadline to two weeks following the

service of Defendant MTC’s supplemental responses.

       6.      On August 9, 2023, MTC served their First Supplemental Responses to Plaintiffs’

First Set of Interrogatories and Request for Production (“MTC’s First Supplemental Response”).

MTC communicated that their First Supplemental Production in Response to Plaintiffs’ First Set

of Interrogatories and Request for Production (“MTC’s First Supplemental Production”) was

contained in a flash drive, which would be delivered by mail to Plaintiffs’ counsel at the Asylum

Seeker Advocacy Project (“ASAP”). Plaintiffs anticipate being able to access MTC’s First

Supplemental Production on or around August 21, 2023.

       7.      Plaintiffs anticipate requiring until September 5, 2023, to file a motion to compel

discovery, should one be required.

       8.      Plaintiffs and MTC have stipulated to this motion, and MTC does not oppose

granting an extension of a motion to compel to September 5, 2023, should one be required.

       For these reasons, Plaintiffs respectfully move the Court to extend the time to file a

Motion to Compel until September 5, 2023.

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Respectfully submitted,                  August 18, 2023

 By: /s/ Jessica Hanson
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 Zachary Manfredi*
 Jessica Hanson*                         By: Approved via email on August 18, 2023
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 Attorneys for Plaintiffs




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                                 CERTIFICATE OF SERVICE

         I certify that on August 18, 2023, I filed the foregoing document electronically through

the CM/ECF system, which caused all parties or counsel of record to be served by electronic

means.


                                                  By: /s/ Jessica Hanson
                                                     Jessica Hanson




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